











Opinion issued August 28, 2008














In The
Court of Appeals
For The
First District of Texas
____________

NO. 01-08-00538-CR
____________

IN RE STEVEN D. CATHCART, Relator




Original Proceeding on Petition for Writ of Mandamus



&nbsp;
MEMORANDUM  OPINION
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Relator, Steven D. Cathcart, has filed both a motion for leave to file and a
petition for writ of mandamus  asking that we order respondent


 to amend her
certification of right of appeal fro appellate number 01-07-01026-CR.  See Tex. R.
App. P. 9.5, 52.1, 52.3(j).
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;The motion for leave to file is dismissed.  
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;The petition for writ of mandamus is denied
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;It is so ORDERED.
PER CURIAM

Panel consists of Justices Nuchia, Alcala, and Hanks.
Do not publish.  Tex. R. App. P. 47.2(b).


